
Mr. Joseph Finarelli, Special Deputy Attorney General, For North Carolina Department of Public Safety.
Mr. Larry Leake, Attorney at Law, For Ledford, Chauncey John.
Ms. Jamie A. Stokes, Attorney at Law.
Mr. J. Michael McGuinness, Attorney at Law, For Southern States Police Benevolent Association, et al.
Mr. Michael C. Byrne, Mr. Norris Arden Adams, II, Attorneys at Law, For State Employees Association of North Carolina and North Carolina Fraternal Order of Police.
The following order has been entered on the motion filed on the 18th of December 2016 by Southern States Police Benevolent Association and the North Carolina Police Benevolent Association for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 22nd of December 2016."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
